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UNITED sTATEs DISTRICT COURT
FoR THE DISTRICT oF coLUMBIA

 

PROJECT ON GOVERNMENT
OVERSIGHT, INC.,

Plaintiff,
v. Civil Action No. 18-2051 (RCL)

U.S. DEPARTMENT OF HOMELAND
SECURITY, OFFICE FOR CIVIL RIGHTS
AND CIVIL LIBERTIES,

` Defena'ant.

 

 

+PRUPGSU?]_ORDER

Upon consideration oi` Defendant’s Consent Motion for Extension of Time and the entire
record hercin, it is this Lfd§y of COC.L", 2018,

ORDERED that Defendant’s Consent Motion for Extension of Time be and is hereby
GRANTED; and it is

FURTHER ORDERED that Defendant’s Answer (Dkt. 9-1) shall be deemed FILED.

SO ORDERED.

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Date UnitedLStates District Judge

